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                       IN THE UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                         CASE NO. 1:10-CR-00417 AWI

                            Plaintiff,            THE GOVERNMENT’S EXHIBITS FROM THE
                                                  PRIOR TRIAL
                      v.

CHRISTOPHER COLEMAN,
PAUL VAN DALEN,
SEAN PLYMALE, and
MICHAEL MANFREDI,


                            Defendant.




       IT IS SO ORDERED, that the exhibits from the prior trial shall be released to the

government for copying and prompt return.


IT IS SO ORDERED.

Dated: January 10, 2014
                                            SENIOR DISTRICT JUDGE
